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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *          Criminal No. 23-cr-323-PX
                                                  *
                       v.                         *          ORDER GRANTING MOTION
                                                  *          TO CONTINUE SENTENCING
                                                  *
 MICHAEL VERZALENO, JR., ET AL.,                  *
                                                  *
                            Defendants.           *


       THIS MATTER having been opened to the Court by counsel for defendants Michael

Verzaleno, Jr., and Michael Verzaleno, Sr., and Susan P. Carrano (collectively, the “Defendants”),

for the entry of an Order granting Defendants’ motion to continue sentencing pursuant to Fed. R.

Crim. P. 32(b) and Local Rule 213, and for good cause shown;

       IT IS on this _______ day of February, 2025;

       ORDERED as follows:

       1.      Defendants’ motion to continue sentencing is hereby granted.

       2.      Sentencing is hereby continued to __________, 2025.



                                                      _______________________________

                                                      Hon. Paula Xinis, U.S.D.J.
